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Attorney for Defendant
PAVEL “PAUL” BABICHENKO

                            IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF IDAHO
                                (HONORABLE B. LYNN WINMILL)
UNITED STATES OF AMERICA,

               Plaintiff,                           CASE NO. CR-18-258-BLW
vs.
PAVEL BABICHENKO,                                   NOTICE OF INTENT TO JOIN IN
GENNADY BABITCHENKO,                                MOTION TO DISMISS SUPERSEDING
PIOTR BABICHENKO,                                   INDICTMENT (Dkt. 364)
TIMOFEY BABICHENKO,
KRISTINA BABICHENKO,
NATALYA BABICHENKO,
DAVID BIBIKOV,
ANNA IYERUSALIMENTS,
MIKHAIL IYERUSALIMETS,
ARTUR PUPKO,

               Defendants.




       COMES NOW, PAVEL “PAUL” BABICHENKO, by and through his attorney, John C.

DeFranco, hereby provides notice to the District Court and the Government of its intent to join in

the previously filed Motion To Dismiss Indictment For Ethnically Selective Prosecution and

Enforcement filed by Defendant Anna Iyerusalimets. (Dkt. 364). The defense avers it has

substantially similar arguments to the ones presented by the Federal Defender’s Office. The




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defense believes the court’s granting of permission to join in their motion will promote judicial

economy and it does not prejudice the Government.

       Dated: February 27, 2020
                                         ________/s/___________________
                                        John Charles DeFranco
                                        Attorney for Pavel “Paul” Babichenko




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of February 2020, I filed the foregoing electronically
through the CM/ECF system, which caused the parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:

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                                                                                                  3
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                                        ________/s/___________________
                                        Megan Lentz




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